            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
           Civil Action No.: 1:24-CV-00710-WO-JLW


UNITED STATES OF AMERICA;
STATE OF NORTH CAROLINA;
STATE OF CALIFORNIA; STATE
OF COLORADO; STATE OF
CONNECTICUT; STATE OF
ILLINOIS; COMMONWEALTH OF
MASSACHUSETTS; STATE OF
MINNESOTA; STATE OF OREGON;
and STATE OF TENNESSEE,

             Plaintiffs,

    v.

REALPAGE, INC.; CAMDEN
PROPERTY TRUST; CORTLAND
MANAGEMENT, LLC; CUSHMAN &
WAKEFIELD, INC.; GREYSTAR
REAL ESTATE PARTNERS, LLC;
LIVCOR, LLC; PINNACLE
PROPERTY MANAGEMENT
SERVICES, LLC; and WILLOW
BRIDGE PROPERTY COMPANY, LLC

             Defendants.



       PINNACLE PROPERTY MANAGEMENT SERVICES, LLC’S
  REPLY IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’
                    AMENDED COMPLAINT




 Case 1:24-cv-00710-WO-JLW   Document 151   Filed 06/26/25   Page 1 of 15
                       TABLE OF AUTHORITIES

                                                                   Page(s)

Cases

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ..................................... 3

Bell Atlantic Corp. v. Twombly,
  550 U.S. 544 (2007) ............................... 1, 4, 8

City of Pontiac Police & Fire Ret. Sys. v. BNP Paribas
  Sec. Corp.,
  92 F.4th 381 (2d Cir. 2024) ............................. 5

Dickson v. Microsoft Corp.,
  309 F.3d 193 (4th Cir. 2002) ...................... 2, 7, 9

Falk v. Brennan,
  414 U.S. 190 (1973) ..................................... 3

Gibson v. Cendyn Group LLC,
  No. 23-cv-00140, 2024 WL 2060260 (D. Nev. May 8,
  2024) ................................................... 8

Hall v. United Air Lines, Inc.,
  296 F. Supp. 2d 652 (E.D.N.C. 2003) ..................... 6

In re Musical Instruments & Equip. Antitrust Litig.,
  798 F.3d 1186 (9th Cir. 2015) ........................... 4

Just Puppies, Inc. v. Brown,
  123 F.4th 652 (4th Cir. 2024) ........................... 6

Krehl v. Baskin-Robbins Ice Cream Co.,
  664 F.2d 1348 (9th Cir. 1982) ........................... 5

Monsanto Co. v. Spray–Rite Serv. Corp.,
  465 U.S. 752 (1984) ..................................... 4


                                  -i-




  Case 1:24-cv-00710-WO-JLW   Document 151   Filed 06/26/25   Page 2 of 15
                                                                   Page(s)

SD3, LLC v. Black & Decker (U.S.) Inc.,
  801 F.3d 412 (4th Cir. 2015) .......................... 2-3




                                 -ii-



  Case 1:24-cv-00710-WO-JLW   Document 151   Filed 06/26/25   Page 3 of 15
    In response to Cushman & Wakefield, Inc. (“Cushman”) and

Pinnacle Property Management Services, LLC’s (“Pinnacle”)

motion to dismiss, Plaintiffs agreed to dismiss Cushman &

Wakefield, Inc. Stipulation Regarding Dismissal of Cushman

Without    Prejudice,   ECF   No.144.    As   to   Pinnacle,       however,

Plaintiffs have neither dismissed it nor provided a plausible

basis for retaining it.

    Plaintiffs’ claim that any company that uses RealPage’s

software    automatically     joins     an    illegal     conspiracy          is

unsupported by law or logic, as Defendants’ joint brief

explains. The Court cannot infer a conspiracy from alleged

use of RealPage software because using RealPage is “just as

much in line with a wide swath of rational and competitive

business strategy unilaterally prompted by common perceptions

of the market.” Bell Atlantic v. Twombly, 550 U.S. 544, 554

(2007).    The   Complaint    acknowledges      many     reasons     why       a

landlord would use RealPage’s software regardless of whether

other landlords use it. Am. Compl. (“Compl.”) ¶¶47, 49, 54,

169-72, ECF No. 47. These independent reasons for using the

software make the conspiracy claim implausible. Twombly, 550

U.S. at 566 (“there is no reason to infer that the companies

                                  -1-




  Case 1:24-cv-00710-WO-JLW   Document 151    Filed 06/26/25   Page 4 of 15
had agreed among themselves to do what was only natural

anyway”).

       The Complaint is particularly deficient as to Pinnacle.

Plaintiffs fail to identify “circumstances pointing toward a

meeting of the minds” between Pinnacle and other RealPage

users as required. SD3 v. Black & Decker (U.S.), 801 F.3d

412, 430 (4th Cir. 2015). Under Dickson v. Microsoft, a

meeting of the minds requires plausible allegations of a

conspiracy       among   all     defendants,        not     just        individual

agreements with a single supplier. 309 F.3d 193, 203-04 (4th

Cir.    2002).    Rather    than       explaining     how    the    allegations

against      Pinnacle      or    other        defendants     meet        Dickson’s

requirements,      Plaintiffs      assert        Dickson      conflicts       with

Supreme Court precedent. Pls.’ Resp. in Opp. to Defs.’ Mots.

to Dismiss (“Opp.”) at 66-67, ECF No. 145. But Dickson is

binding precedent.

       The   allegations        that     Pinnacle      joined       a    landlord

conspiracy to use RealPage is especially implausible because

Pinnacle is not a landlord. Plaintiffs argue that does not

matter because the Complaint defines “landlord” to include

non-landlords      and   “extrinsic       factual     inquiries”         would     be

                                        -2-



  Case 1:24-cv-00710-WO-JLW      Document 151      Filed 06/26/25   Page 5 of 15
required to distinguish property managers like Pinnacle. Opp.

at 46-47. But the Fourth Circuit has made clear that “a

plaintiff… cannot assemble some collection of defendants and

then make vague, non-specific allegations against all of them

as a group.” SD3, 801 F.3d at 422. Simply labeling Pinnacle

a landlord and assuming the allegations about landlords apply

to Pinnacle is conclusory and entitled to no weight. Ashcroft

v. Iqbal, 556 U.S. 662, 686 (2009) (courts should not “credit

a complaint’s conclusory statements without reference to its

factual   context”).    Moreover,       in   assessing         plausibility,

courts must draw on “experience and common sense.” Iqbal, 556

U.S. at 679. As the Supreme Court has recognized, “it is

clear” that “the business of [a property manager] is not the

sale of a product (the rental of realty) but a sale of

professional management services.” Falk v. Brennan, 414 U.S.

190, 200 (1973).

      Plaintiffs also argue that Pinnacle being a different

type of company from other defendants does not matter because

not “every conspirator need[s] to harbor the exact same motive

or behave identically for liability to attach.” Opp. at 47.

But   a   plaintiff    must   plausibly      allege      specific        facts

                                  -3-



  Case 1:24-cv-00710-WO-JLW   Document 151    Filed 06/26/25     Page 6 of 15
suggesting that each defendant had a “conscious commitment to

a common scheme,” Monsanto v. Spray–Rite Serv., 465 U.S. 752,

768 (1984), and “factual context suggesting agreement” rather

than    independent    action,     Twombly,        550    U.S.      at    549.     The

Complaint    fails    to    do   so.   Among       the    deficiencies,            the

Complaint includes no plausible allegations that Pinnacle as

a property manager sets rents or other lease terms, receives

rent payments, or decides whether or how to use RealPage

revenue management software.

       Nor do the few allegations specifically about Pinnacle—

most of which do not relate to RealPage at all—plausibly

suggest Pinnacle’s agreement to a RealPage usage conspiracy.

Memo. in Supp. of Defs.’ Cushman and Pinnacle’s Mot. to

Dismiss Pls.’ Am. Compl. (“Pinnacle MTD”), ECF No. 138 at 16-

21.     Irrelevant    allegations      do    not     plausibly           support    a

conspiracy. See, e.g., In re Musical Instruments, 798 F.3d

1186, 1193 n.5 (9th Cir. 2015) (rejecting claim unsupported

by plausible allegations of “who is alleged to have conspired

with whom, what exactly they agreed to, and how the alleged

conspiracy was organized and carried out”). Plaintiffs ignore

these    problems    and,   instead,        assert       that    the     Complaint

                                     -4-



  Case 1:24-cv-00710-WO-JLW      Document 151      Filed 06/26/25    Page 7 of 15
contains “details about Pinnacle’s involvement in regular

landlord exchanges of competitively sensitive information.”

Opp. at 45. But these allegations have nothing to do with

RealPage or the alleged RealPage-based conspiracy. Instead,

after   months   of     pre-Complaint       investigation,         Plaintiffs

muster only a small handful of allegations that Pinnacle

communicated     with     landlords.      That      is    insufficient           to

plausibly   allege    Pinnacle’s     participation         in     the   alleged

ongoing RealPage conspiracy. See, e.g., Pontiac Police & Fire

Ret. Sys. v. BNP Paribas, 92 F.4th 381, 398-99 (2d Cir. 2024)

(“five bilateral chat excerpts” do not plausibly support

alleged agreement to “fix hundreds of Treasury auctions”);

Krehl v. Baskin-Robbins, 664 F.2d 1348, 1357-58 (9th Cir.

1982) (“a dozen isolated communications regarding prices” do

not support price fixing conspiracy).

    Plaintiffs     next    assert    that    Pinnacle       encouraged       its

employees   to   undertake    “‘traditional’          market      surveys”       at

properties that it manages. Opp. at 48. But, as Pinnacle’s

motion to dismiss explained, traditional market surveys use

public information to gather market intelligence. Pinnacle

MTD at 18-19. There is nothing illegal about using public

                                    -5-



  Case 1:24-cv-00710-WO-JLW   Document 151       Filed 06/26/25   Page 8 of 15
information, and doing so is fully consistent with lawful

independent action. See, e.g., Hall v. United Air Lines, 296

F.Supp.2d    652,   670   n.23    (E.D.N.C.       2003)     (“The     public

announcement of a pricing decision cannot be twisted into an

invitation or signal to conspire.”). Plaintiffs complain that

Pinnacle invited the Court to consider the full document that

they quoted in support of this allegation, Opp. at 47-48, but

the    Complaint     incorporated       this       document,        Pinnacle

appropriately provided the full version, and the Court is

entitled to consider it. See, e.g., Just Puppies v. Brown,

123 F.4th 652, 660 (4th Cir. 2024). The document the Complaint

quotes is a Code of Conduct that explicitly prohibits contact

with competitors, contrasts that with market surveys, and

identifies public sources to use to conduct market surveys.

See Decl. of Joseph Kay in Supp. of Cushman and Pinnacle’s

Mot. to Dismiss the Compl., Ex. A at 1, ECF No.138-2.

      Finally,   Plaintiffs      double-down       on     their     puzzling

allegation   that    Pinnacle’s     alleged      “recognition        of   the

anticompetitive     potential     of    sharing      detailed       landlord

competitor data” somehow supports the alleged conspiracy.

Opp. at 48. But by that logic every company with an antitrust

                                  -6-



  Case 1:24-cv-00710-WO-JLW   Document 151     Filed 06/26/25   Page 9 of 15
compliance    policy      could      be     sued      for    an      industry-wide

conspiracy. That is unsupported by the law and would be

exceptionally      bad      policy.          Further,         this         purported

“recognition” is based on a Pinnacle employee saying that

RealPage does not provide detailed landlord competitor data.

Compl.    ¶140.   Pinnacle      saying      RealPage        does     not    exchange

competitively      sensitive        data     cannot         plausibly        support

Pinnacle having a “conscious commitment to a common scheme”

to use RealPage to exchange competitively sensitive data.

    Plaintiffs also fail to plausibly allege anticompetitive

effects from Pinnacle’s individual use of RealPage software.

Plaintiffs    entirely      ignore        that   in    Dickson,        the    Fourth

Circuit    held    that     a     plaintiff        must      plausibly        allege

anticompetitive         effects     from     each       individual          customer

agreement and thus that a “failure to allege market share or

any other facts demonstrating market power” of an individual

customer requires dismissal. 309 F.3d at 208.

    The Complaint nowhere alleges market shares for Pinnacle,

where Pinnacle manages buildings, or which landlords instruct

Pinnacle     to   use     RealPage        revenue      management          software.

Pinnacle MTD at 22. Nor does the Complaint allege specific

                                      -7-



 Case 1:24-cv-00710-WO-JLW        Document 151      Filed 06/26/25    Page 10 of 15
facts about where Pinnacle allegedly exchanged information,

what competitively sensitive information was exchanged, or

with whom. Thus, the Complaint does not plausibly suggest

that Pinnacle’s use of RealPage had anticompetitive effects.

    Plaintiffs cannot save their claim against Pinnacle with

conclusory assertions that a “software tool designed for

pricing unquestionably stifles competition.” Opp. at 21. This

assertion      is   not   plausible—not     all     software      related     to

pricing        stifles      competition—and,          again,       conclusory

allegations are entitled to no weight. See Twombly, 550 U.S.

at 548-49, 556-57. Indeed, the Complaint itself admits that

RealPage’s revenue management software offers many features

that landlords value. Compl. ¶¶47, 49, 54, 169-72. These

features provide independent reasons for landlords to use the

software,      regardless     of   what    other      landlords       do.    The

Complaint also admits that the software could lead to either

higher    or    lower     prices   and    that    users     do    not    follow

recommendations most of the time. Compl. ¶¶49, 73. Thus, the

Complaint admits that RealPage does not “constrain [users’]

ability to unilaterally set prices,” meaning Plaintiffs have

not plausibly alleged a restraint of trade. See Gibson v.

                                    -8-



 Case 1:24-cv-00710-WO-JLW     Document 151      Filed 06/26/25   Page 11 of 15
Cendyn, No. 23-cv-00140, 2024 WL 2060260, at *9 (D. Nev. May

8, 2024).

     Nor can Plaintiffs save their claims against Pinnacle

with general allegations that the collective “market share”

of all “landlords” that use any RealPage product exceeds 30%

in   some   geographic   markets.    Opp.    at   24-26.       Again,    that

contravenes Dickson’s requirement to look at each individual

customer agreement. 309 F.3d at 208. Further, this “market

share” includes non-defendant landlords that use RealPage, as

well as property managers, as well as users of RealPage

products     unrelated   to   revenue     management.         This   jumbled

allegation says nothing about Pinnacle’s market position and

certainly does not suggest that Pinnacle has market power.

     For all these reasons and those in the joint brief, the

Complaint     against    Pinnacle       should    be    dismissed        with

prejudice.


     Respectfully submitted this 26th day of June 2025.



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                                  -9-



 Case 1:24-cv-00710-WO-JLW    Document 151   Filed 06/26/25    Page 12 of 15
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                                -10-



Case 1:24-cv-00710-WO-JLW   Document 151   Filed 06/26/25   Page 13 of 15
                            WORD COUNT CERTIFICATION

       I    certify    that     this   Reply      in     Support        of    Defendant

Pinnacle         Property    Management    Services,            LLC’s        Motion   to

Dismiss Plaintiffs’ Amended Complaint (the “Brief”) complies

with       the   applicable     word   limits      excluding            the   caption,

signature lines, certificate of service, and any cover page

or index in accordance with this Court’s October 30, 2024

Order extending the word limitation, ECF No. 40, and Local

Civil       Rule    7.3(d)(1).      This      certification             is    made    in

accordance with Local Civil Rule 7.3(d)(1). The undersigned

relied       upon   the     word   count   feature           provided         by   word-

processing software and the Brief contains 1564 words.

This 26th day of June 2025.



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                                       -11-




 Case 1:24-cv-00710-WO-JLW         Document 151        Filed 06/26/25    Page 14 of 15
                     CERTIFICATE OF SERVICE

    This is to certify that on June 26, 2025, a copy of the

foregoing was filed with the Clerk of Court using the CM/ECF

system which will send notification of such filing to all

counsel of record.



                                /s/Aaron J. Horner
                                Aaron J. Horner




                                 -12-



 Case 1:24-cv-00710-WO-JLW   Document 151   Filed 06/26/25   Page 15 of 15
